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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
vs.                                               )   CR. NO. 2:09cr007-WHA
                                                  )
JOSE A. GONZALEZ and                              )
ABRAHAM ARANGO                                    )


                                             ORDER

       This case is before the court on the Joint Motion to Continue (Doc. #39), filed by the

Defendants on March 31, 2009. The United States does not object.

       For the reason that a Motion to Suppress is presently pending and substantial additional

time is needed by counsel for the Defendants and the Government to prepare for a hearing and

for the court to consider and determine the motion, the court finds that the ends of justice to be

served by granting a continuance outweigh the rights of the Defendants and the public to a

speedy trial. Therefore, the motion is GRANTED, and it is hereby

       ORDERED that trial of this case is CONTINUED from the term of court commencing

April 20, 2009, and RESET for the term of court commencing July 27, 2009.

       DONE this 31st day March, 2009.



                                              /s/ W. Harold Albritton
                                              W. HAROLD ALBRITTON
                                              SENIOR UNITED STATES DISTRICT JUDGE
